     Case 2:24-cv-00235-MTM         Document 32      Filed 03/28/25    Page 1 of 3



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 6                      IN THE UNITED STATES DISTRICT COURT
 7                            FOR THE DISTRICT OF ARIZONA
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 9   KC Turbos, LLC,                                    No. CV-24-00235-PHX-MTM
10                         Plaintiff,                   ORDER SETTING RULE 16 CASE
                                                        MANAGEMENT CONFERENCE
11   v.
12   Turbo Charger Systems, et al.,
13                         Defendants.
14
15          The Court sets a Case Management Conference date for May 20, 2025 at 11:00 AM,
16   Arizona time in Courtroom 304, Sandra Day O’Connor U.S. Courthouse, 401 W.
17   Washington Street, Phoenix, Arizona 85003. Counsel responsible for trial of the lawsuit
18   for each party shall be present at the Case Management Conference and shall have the
19   authority to enter into any stipulations regarding matters discussed at the Case Management
20   Conference.
21          The parties shall, no later than May 13, 2025, file a report as required by Rule 26(f)
22   of the Federal Rules of Civil Procedure. The Rule 26(f) report shall include the following
23   information in separately identifiable subdivisions:
24          1.     Attendance: The parties who attended the Rule 26(f) meeting and assisted
25   in developing the joint submissions;
26          2.     Service: Any parties that have not been served in this action, and a brief
27   explanation of why those parties have yet to be served;
28          3.     Statement of the Case: The parties shall each provide a brief description –
     Case 2:24-cv-00235-MTM          Document 32       Filed 03/28/25      Page 2 of 3



 1   not to exceed a page and a half per party – of the principal factual and legal disputes in this
 2   matter, as well as the parties’ respective positions on each issue;
 3          4.     Jurisdiction: The jurisdictional basis for this action, with citations to
 4   specific statutes. The parties shall also disclose the citizenship of each party as well as the
 5   amount in controversy.
 6          5.     Additions and Amendments:             Whether any party anticipates adding
 7   additional parties to the case or otherwise amending the pleadings, as well as an estimation
 8   of when a party will seek to amend the pleadings;
 9          6.     Forthcoming Motions: A list of contemplated motions and a statement of
10   issues to be decided by said motions;
11          7.     Related Cases: Any actions, if any, related to this case that are currently
12   pending before other courts, or other judges within the District of Arizona;
13          8.     Discovery Limitations: Any proposed deviations from the limitations in
14   discovery established by the Federal Rules of Civil Procedure, and an explanation as to
15   why such changes are necessary and proportional to the needs of this case;
16          9.     Electronically Stored Information: Any issues relating to preservation,
17   disclosure, or discovery of electronically stored information, including the parties’
18   preservation of electronically stored information and the form or forms in which it will be
19   produced;
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            10.    Request for Jury Trial: Whether a jury trial has been requested and
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     whether the request for a jury trial is contested. If the request for a jury trial is contested,
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     the parties shall set forth the reasons why a trial by jury is in dispute;
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            11.    Trial: The estimated date this matter will be ready for trial, as well as an
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     estimation as to the length of the trial;
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            12.    Case Management Deadlines:             A proposed list of case management
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     deadlines, including deadlines for the following;
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                   A.      Mandatory initial disclosures;
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                   B.      Motions to amend the pleadings;

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     Case 2:24-cv-00235-MTM        Document 32       Filed 03/28/25    Page 3 of 3



 1                 C.     Service of discovery requests
 2                 D.     Fact witness depositions
 3                 E.     Close of fact discovery;
 4                 F.     Expert witness disclosures;
 5                 G.     Expert witness depositions;
 6                 H.     Discovery-related motions;
 7                 I.     Good-faith settlement discussions;
 8                 J.     Dispositive motions;
 9          13.    Ancillary Matters: Any other issues the parties believe should be brought
10   to the Court’s attention, or that were unable to be resolved at the Rule 26(f) meeting.
11          If, after receipt of the parties’ case management report, the Court determines there
12   are no outstanding issues necessitating a Case Management Conference, and if the parties’
13   proposed deadlines are reasonable, the Court may vacate the Case Management
14   Conference and issue a Case Management Order.
15          Dated this 28th day of March, 2025.
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